






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-05-394 CR


____________________



MARSHALL LEE BRYCE, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 93520






MEMORANDUM OPINION


	Marshall Lee Bryce was placed on deferred adjudication community supervision on
an indictment for forgery.  Bryce filed a notice of appeal on August 29, 2005.  The trial
court entered a certification of the defendant's right to appeal in which the court certified
that this is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App.
P. 25.2(a)(2).  The trial court's certification has been provided to the Court of Appeals by
the district clerk.

	On September 7, 2005, we notified the parties that the appeal would be dismissed
unless an amended certification was filed within thirty days of the date of the notice and
made a part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								___________________________

									 HOLLIS HORTON

										 Justice


Opinion Delivered November 16, 2005

Do Not Publish

Before Gaultney, Kreger and Horton, JJ.


